        Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 1 of 8



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                        :      3:17-cr-264 (AWT)

v.                                              :

JASON CHEN                                      :      FILED UNDER SEAL


              DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

      The Defendant, Jason Chen, submits this memorandum in aid of sentencing to

the Court.

PRESENTENCE INVESTIGATION REPORT

      The presentence report is accurate and complete, aside from a few minor

quibbles. The Defendant has reviewed it.

SUPPLEMENTAL BACKGROUND

      This is a case about a young man swept up in events that rapidly devolved

beyond his ken such that, when confronted by authorities, Jason immediately and

completely capitulated.

      Jason met William Fusco—“Bill”—in an online computer game in about 2008.

Games like the one they played together have low activity for stretches of time,

interrupted by intense play. During the low activity time, players socialize and can

develop meaningful bonds, even though they only communicate through a computer.

Over time, Jason and Bill came to know one another well and became what Jason

considered to be friends.
            Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 2 of 8



        In about 2012, Bill offered Jason what seemed like a business opportunity—to

share in Bill’s “business.” Jason has an entrepreneurial streak1, in part from his father,

and this appealed to his business side. Bill proposed that Jason “invest” $2,000 into the

venture, whereby then Jason would serve at the distributor level for substances, mostly

oils like testosterone. As part of the venture, Jason was also allowed to maintain a

presence in an online board where buyers of the substances matched with sellers.

Jason had to pay Bill “rent” to have a presence on the online board: Bill required Jason

to pay him $800 a month.

        For Jason, this was not a good deal. Jason had to do substantial work collecting

substances sent by Bill for redistribution. Jason ultimately lost more money than he

gained through this venture.

        In about 2016, Bill suggested a different approach. “They”—that is, mainly

Jason, under Bill’s direction—would manufacture pills in Jason’s home, and Jason

would package and distribute these pills. Jason invested $5000 into this project. The

government shut the project down within months. The government accurately details

what happened from this point.

        Finally, there has been a development since the presentence report: Jason and

his significant other, Rosa Tomasto, are expecting the birth of their daughter in July,

2019.




        1
        This is a minor quibble with the presentence report. Paragraph 64 of the
presentence report employs a quote from Jason that he is “unsure of what his future
goals are at this time.”
       It is true that Jason does not know with particularity what his goals are at this
time. He aspires, however, to engage in an entrepreneurial business venture of some
kind. His ideas are incomplete, but he is not wholly listless.
            Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 3 of 8



OFFENSE CONDUCT

       The presentence report accurately lays out facts underlying the conviction.

CRIMINAL HISTORY

       The presentence report accurately lays out the lack of a prior criminal record.

GUIDELINE CALCULATION

       The defendant agrees that the offense level calculation in the presentence report

is accurate.

DEFENDANT CHARACTERISTICS

       The report accurately lays out the pertinent his

Already punished loss of job

RELEVANT LEGAL STANDARDS TO IMPOSING SENTENCE

       The polestar in imposing sentence is that “[t]he court shall impose a sentence

sufficient, but not greater than necessary.” 18 U.S.C. §3553(a). A court considers

certain factors in imposing a sentence. In particular, §3553(a)(2) points to the four

classical justifications for punishment—the need for the sentence imposed:


       A.       to reflect the seriousness of the offense, to promote respect for the law,
                and to provide just punishment, sometimes referred to as the retributive
                interest;

       B.       to afford the adequate deterrence to criminal conduct, sometimes referred
                to as the general deterrent interest and the specific deterrent interest;

       C.       to protect the public from further crimes of the defendant, sometimes
                referred to as the incapacitation interest; and

       D.       to provide the defendant with needed educational or vocational training,
                medical care, or other correctional treatment in the most effective manner,
                sometimes referred to as the rehabilitative interest.
         Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 4 of 8



See also Herbert L. Packer, The Limits of the Criminal Sanction at 9-70 (1968). This

section of the Code also lays out a number of other factors that inform how a district

court evaluates these interests, such as the nature and circumstances of the offense,

the history and characteristics of the defendant, the kinds of sentences available, the

Guidelines, policy statements, and so on.

       The sentence must be reasonable. Gall v. United States, 552 U.S. 38, 46, 128 S.

Ct. 586 (2007). The Guideline range is not presumed to be reasonable. Id. at 49.

              “As a matter of administration and to secure nationwide consistency, the
              Guidelines should be the starting point and the initial benchmark. The
              Guidelines are not the only consideration, however. Accordingly, after
              giving both parties an opportunity to argue for whatever sentence they
              deem appropriate, the district judge should then consider all of the
              §3553(a) factors to determine whether they support the sentence
              requested by a party. In so doing, [the judge] may not presume that the
              Guidelines range is reasonable. . . . [The judge] must make an
              individualized assessment based on the facts presented. If [the judge]
              decides that an outside-Guidelines sentence is warranted, [he or she]
              must consider the extent of the deviation and ensure that the justification
              is sufficiently compelling to support the degree of the variance.”

       Id. at 49–50.

DISCUSSION

       A sentence of incarceration is not necessary to satisfy the interests underlying

the criminal sanction.

   A. Retributive Interest

              The retributive interest is diminished. To begin with, the crime involved

       consensual actors and has no identifiable victim. As such, there is no collective

       community outrage.

              Additionally, in evaluating the retributive interest, the Court should

       consider Jason’s circumstances. He was young and naïve. He did not
     Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 5 of 8



   appreciate the seriousness of his conduct. His conduct did not shower him with

   ill-gotten gains. When confronted by authorities, he immediately and completely

   capitulated.

          The criminal sanction and probation are sufficient. This process has been

   exceptionally painful. He has been shamed by his family. And although he is

   now in a stable, happy relationship, the process took its toll on his personal life.

   He has been utterly terrified during this process. And most importantly, as

   detailed in the presentence report, the felonies will have dire consequences for

   Jason’s livelihood.

          On the whole, a sentence of probation is sufficient here.

B. Specific Deterrent

          Jason’s immediate acceptance of responsibility and conduct during this

   process is evidence that the criminal sanction and probation are sufficient to

   meet the ends of justice here.

C. General Deterrent

          The defendant concedes the general deterrent interest. He notes,

   however, that the public policy underlying the crime has been shown to be

   ineffectual. The purpose underlying prohibition of controlled substances is

   ostensibly to protect the health and well-being of those who would be drug

   addicts. Addiction is a disease, and the purpose of prohibition is to control that

   disease through the general and specific deterrent interests. But prohibition, as a

   policy, has not been shown to be an effective means to suppress the spread of

   this disease. See, e.g., Christopher J. Coyne and Abigail R. Hall, Four Decades
        Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 6 of 8



      and Counting: The Continued Failure of the War on Drugs, Cato Policy Analysis,

      No. 811 (April 12, 2017) available at

      https://object.cato.org/sites/cato.org/files/pubs/pdf/pa-811-updated.pdf. Because

      the general deterrent interest is not well suited to advancing the supposed

      purpose, the interest is diminished.

   D. Incapacitation

             Neither the seriousness of the conduct nor the defendant’s history evince

      a substantial interest in separating Jason from society.

   E. Rehabilitation

             In this case, the interest in rehabilitation is strong because Jason holds a

      lot of potential to contribute meaningfully to society. He fell into this situation due

      to a misguided sense of entrepreneurship, naivety, and misplaced trust. He has

      repeatedly spoken with undersigned counsel about potential ventures—these

      ideas are not completely focused, but they show his desire to create something.

             Probation will give access to programs whereby Jason can harness that

      potential. Jason is a young man, now starting a family, and a sentence of

      incarceration will needlessly impose a burden on others. The criminal sanction

      and probation are sufficient.

CONCLUSION

      For the foregoing reasons, a non-guideline sentence of probation is sufficient, but

not greater punishment than necessary.


                                                 Respectfully Submitted,
                                                 JASON CHEN
       Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 7 of 8




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 Case 3:17-cr-00264-AWT Document 36 Filed 02/21/19 Page 8 of 8



                                CERTIFICATION
A true and exact copy of the foregoing was sent by electronic mail, via the
CM/ECF system, on February 21, 2019, to:

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